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                                                                                   FILED
                                                                       United States Court of Appeals
                      UNITED STATES COURT OF APPEALS                           Tenth Circuit

                            FOR THE TENTH CIRCUIT                             April 29, 2025
                        _________________________________
                                                                           Christopher M. Wolpert
                                                                               Clerk of Court
 D.B.U., on behalf of themselves and others
 similarly situated, et al.,

        Petitioners - Appellees,

 v.                                                          No. 25-1164
                                                    (D.C. No. 1:25-CV-01163-CNS)
 DONALD J. TRUMP, in his official                              (D. Colo.)
 capacity as President of the United States,
 et al.,

        Respondents - Appellants.
                       _________________________________

                                     ORDER
                        _________________________________

Before HARTZ, PHILLIPS, and CARSON, Circuit Judges.
                 _________________________________

        The government has filed an emergency motion for a stay pending appeal of

the district court’s temporary restraining order (TRO).

        To resolve the government’s motion, we consider the traditional stay factors:

“(1) whether [it] has made a strong showing that [it] is likely to succeed on the

merits; (2) whether [it] will be irreparably injured absent a stay; (3) whether issuance

of the stay will substantially injure the other parties interested in the proceeding; and

(4) where the public interest lies.” Nken v. Holder, 556 U.S. 418, 434 (2009)

(internal quotation marks omitted). “The first two factors of the traditional standard

are the most critical.” Id. The third and fourth factors merge when the government is
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a party. “The party requesting a stay bears the burden of showing that the

circumstances justify an exercise of [the court’s] discretion.” Id. at 433-34.

      The second factor is dispositive in this case. It is not enough to show “some

possibility of irreparable injury.” Id. at 434 (internal quotation marks omitted). The

party seeking a stay must show that it “is likely to suffer irreparable harm in the

absence of preliminary relief.” Winter v. Nat. Res. Def. Council, Inc., 557 U.S. 7, 20

(2008) (addressing the standard for preliminary injunctions). The government has

not made such a showing in this case. All members of the class are in federal

custody. And given the important unresolved issues under the Alien Enemies Act

(AEA) and the ruling of the United States Supreme Court that no one in that

proceeding be removed under the AEA until further order of that Court, see A.A.R.P.

v. Trump, 145 S. Ct. 1034 (2025), there is no realistic possibility that the government

could remove any member of the class from this country before final expiration of

the TRO on May 6, 2025.

      Because of the failure to make the required irreparable-injury showing, we

need not address the other stay factors.

      Accordingly, the emergency motion for a stay is denied.


                                            Entered for the Court



                                            CHRISTOPHER M. WOLPERT, Clerk




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